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                  U NITED STATES D ISTRICT COURT SOUTHERN
                     D ISTRICT OF TEXAS HOUSTON D IVISION

         Federal Trade                   §   CIVIL ACTION NO.
         Commission,                     §   4:24-cv-02508
                                         §
                        Plaintiff,       §   JUDGE CHARLES ESKRIDGE
                                         §
                                         §
                 vs.                     §
                                         §
                                         §
         Tempur Sealy
         International, Inc., et al.,

                        Defendants.

                       TRIAL EXHIBIT LIST OF D EFENDANTS


         Beg Bates                                                            Date   Date N/
 No.                                 Description           Offer    Object
         Number(s)                                                           Admit   Admit

                          FRE 1006 Summary of Das
5966       N/A
                        Varma Bargaining Model Results
                        FRE 1006 Summary of Tempur
5967       N/A
                            Sealy Sales 2017-2019
                         FRE 1006 Summary of Profits
5968       N/A
                          Across Das Varma Models

Dated: November 19, 2024                  Respectfully submitted,

/s/Sara Y. Razi                           /s/ Ryan A. Shores
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Firm Group Inc.                           International, Inc.
